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                                                                                       FILED
                                                                                  IN OPEN COURT
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                                                                  FEB 2 2 2008
                                          Norfolk Division

                                                                            CLERK, U.S. DISTRICT COURT
  UNITED STATES OF AMERICA                                                          NORFOLK, VA


  V.                                                          ACTION NO. 2:07cr237


  RAMON DICKERSON,


                 Defendant.


                              REPORT AND RECOMMENDATION1
                               CONCERNING PLEA OF GUILTY


         The Defendant, by consent, has appeared before me pursuant to Federal Rule of Criminal

  Procedure 11, and referral from a United States District Judge and has entered a plea of guilty to

  Counts Eight, Ten and Thirteen of the indictment. After cautioning and examining the Defendant


  under oath concerning each of the subjects mentioned in Rule 11,1 determined that the guilty plea


  was knowledgeable and voluntary, and that the offense charged is supported by an independent basis


  in fact establishing each of the essential elements of such offense. I therefore recommend that the


  plea of guilty be accepted and that the Defendant be adjudged guilty and have sentence imposed


  accordingly.


         I further certify that a copy of this Report and Recommendation was this day delivered to


  counsel for the United States and to counsel for the defendant.


         DONE AND ENTERED at Norfolk, Virginia, this 22nd day of February, 2008.




                                                                     MAGISTRATE JUDGE
  Norfolk, Virginia



         1   Failure to file written objections to this Report and Recommendation within ten (10)
  days from the date of its service shall bar an aggrieved party from attacking such Report and
  Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(l)(B).
